     Case 2:08-cv-02431-GAM Document 613 Filed 09/23/15 Page 1 of 2



                   UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF PENNSYLVANIA


                              :
IN RE: WELLBUTRIN XL          :             CIVIL ACTION
ANTITRUST LITIGATION          :             NO. 08-2431
______________________________:
                              :             CIVIL ACTION
THIS DOCUMENT RELATES TO:     :             NO. 08-2433
ALL ACTIONS                   :
                              :


                               ORDER

          AND NOW, this 23rd day of September, 2015, upon

consideration of GSK’s motions for summary judgment, and the

oppositions and replies thereto; GSK’s motions to exclude expert

reports and testimony, and the oppositions and replies thereto;

and the plaintiffs’ motion to exclude an expert report and

testimony, and the oppositions and replies thereto; and after

oral argument held on July 29, 2015, IT IS HEREBY ORDERED, for

the reasons set forth in the accompanying memorandum bearing

today’s date, that:

          1.   GSK’s Motion for Summary Judgment on All Claims

(Docket No. 575) is GRANTED;

          2.   GSK’s Motion for Summary Judgment Due to Lack of

Causation (Docket No. 573) is GRANTED IN PART;

          3.   GSK’s Motion to Exclude the Expert Reports and

Testimony of Jeffrey Leitzinger (Docket No. 570) is GRANTED.
     Case 2:08-cv-02431-GAM Document 613 Filed 09/23/15 Page 2 of 2



          4.   GSK’s Motions to Exclude the Expert Reports and

Testimony of Cheryl Blume (Docket No. 572) and Meredith

Rosenthal (Docket No. 571) are DENIED AS MOOT; and

          5.   The plaintiffs Motion to Exclude the Expert

Report and Testimony of Martin Adelman (Docket No. 569) is

DENIED.


                                 BY THE COURT:



                                 /s/ Mary A. McLaughlin_
                                 MARY A. McLAUGHLIN, J.
